         Case 1:09-cv-00075-FMA Document 51 Filed 10/28/11 Page 1 of 1



      In The United States Court of Federal Claims
                                           No. 09-75C

                                     (Filed: October 28, 2011)
                                            __________
 KLAMATH CLAIMS COMMITTEE,

                        Plaintiff,

         v.

 THE UNITED STATES,

                        Defendant.

                                           __________

                                            ORDER
                                           __________

       On October 7, 2011, the Klamath Tribe filed a motion for leave to file an amicus brief.
On October 24, 2011, plaintiff filed its response to the motion. On or before October 31, 2011,
defendant shall file a response indicating whether it is opposed to the motion for leave to file an
amicus brief.

       IT IS SO ORDERED.




                                                         s/ Francis M. Allegra
                                                         Francis M. Allegra
                                                         Judge
